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 5
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 6   CHARLES HEAD
 7

 8                        UNITED STATES DISTRICT COURT
 9                   FOR THE EASTERN DISTRICT OF CALIFORNIA
10
                                        ) Case Nos.: Cr.S-08-093-KJM
11   UNITED STATES OF AMERICA,          )            Cr.S-08-116-KJM
                                        )
12             Plaintiff,               ) APPICATION FOR TRANSPORTATION
                                        ) ORDER;
13       vs.                            ) ORDER FOR TRANSPORTATION
                                        ) PURSUANT TO 18 U.S.C. 4285
14   CHARLES HEAD,                      )
                                        )
15             Defendant.               )
                                        )
16

17

18   Procedural History
19        In this matter, defendant Charles Head has a status
20   conference hearing on December 8, 2011 at 10:00 a.m. concerning
21   the disposition of Mr. Head’s motions to dismiss based on a
22   violation of the Speedy Trial Act.        Mr. Head is indigent and his
23   financial statement is included herewith as Attachment 1.
24   Application
25        Application is hereby made for an Order for Transportation

26   and subsistence for defendant Charles Head to enable him to

27   attend his hearing in the above-referenced matters scheduled for

28   December 8, 2011 at 10:00 a.m. before the Honorable Kimberly J.



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 1   Mueller.   While this Application for Transportation Order is
 2   only being filed in case number Cr. S-08-093-KJM, and only one
 3   Order from the Court is needed to provide the necessary
 4   transportation for Mr. Head, this Application for Transportation
 5   is equally applicable to case number Cr. S-08-116-KJM as the
 6   status conference hearing regarding Head’s motion to dismiss for
 7   violation of the Speedy Trial Act in that case will also be
 8   heard on December 8, 2011.
 9        Mr. Head has advised counsel that he is unable to afford
10   travel and is requesting that transportation be arranged for his
11   one-way travel from Pittsburgh, Pennsylvania to Sacramento,
12   California on December 7, 2011 so that he may confer with

13   counsel after his arrival and before the status conference

14   hearing.   Mr. Head requests that transportation be arranged for

15   his one-way travel after the hearing from Sacramento, California

16   to Pittsburgh, Pennsylvania on December 8, 2011.

17        Wherefore, in the interests of justice, the Court is

18   requested to arrange for Charles Head’s means of noncustodial

19   transportation or furnish the fare for such transportation to

20   the place where his appearance is required; to direct the United

21   States Marshal to furnish Charles Head with an amount of money

22   for subsistence expenses, not to exceed the amount authorized as

23   a per diem allowance for travel under Section 5702(a) of Title

24   5, United States Code, and pursuant to 18 U.S.C. Section 4285.

25   Dated: November 30, 2011         Respectfully Submitted,
                                      LAW OFFICES OF SCOTT L. TEDMON
26
                                      /s/ Scott L. Tedmon
27                                    SCOTT L. TEDMON
                                      Attorney for Defendant
28                                    Charles Head



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 1                                    ORDER
 2

 3   Defendant seeks round trip air fare and subsistence to travel
 4   from Pittsburgh, PA to Sacramento, CA. so that he can attend a
 5   status conference or possible change of plea. He makes the
 6   request pursuant to 18 U.S.C. § 4285.       No matter how incongruous
 7   the words of the statute may seem to defendants in criminal
 8   actions, the statute permits disbursement of only one-way funds
 9   for appearances in the district of prosecution. “[The court
10   may]...direct the United States Marshal to arrange for that
11   person’s non-custodial transportation or furnish the fare for
12   such transportation to the place where his appearance is
13   required...” The undersigned is unaware of any case
14   interpretation of § 4285 which would permit defendant’s round
15   trip request.   See cases only permitting payment for one-way
16   travel: United States v. Centeno, 2009 WL 3334144 (S.D. Cal.
17   2009); United States v. Miracle, 2009 WL 3211104 (E.D. Ky.
18   2009); United States v. Headden, 2009 WL 2960382 (D. Ariz.
19   2009); United States v. Birdhorse, 2007 WL 2358634 *2 (D.N.D.
20   2007); United States v. Vaughn, 2002 WL 1067456 *1 (D. Kan.
21   2002); United States v. Sandoval, 812 F.Supp. 1156, 1157 (D.
22   Kan. 1993); United States v. James, 762 F.Supp. 1, 2 (D.D.C.
23   1991; United States v. Gonzales, 684 F.Supp. 838, 841 (D. Vt.
24   1988).
25   While defendant may be seeking a judicial wink at the statute
26   for logical reasons, the court is not authorized to expend funds
27   except as directed by statute.
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 1        Therefore, the Marshal is authorized and directed to
 2   furnish the above named defendant, Charles Head, with
 3   transportation and subsistence expenses for travel from
 4   Pittsburgh, PA to Sacramento, California on December 7, 2011 to
 5   timely make his appearance on December 8, 2011 at 10:00 a.m.
 6   The United States Marshal’s Office must furnish Charles Head
 7   with money for subsistence expenses to his destination, not to
 8   exceed the amount authorized as a per diem allowance for travel
 9   under section 5702(a) of Title 5, United States Code.
10             The Clerk shall serve a copy of this order on the
11   United States Marshal.
12   IT IS SO ORDERED.
13
     Dated: December 2, 2011
14

15                                          /s/ Gregory G. Hollows
                                          United States Magistrate Judge
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